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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

Case No.: 21-CR-026 (CRC)                     )
UNITED STATES OF AMERICA,                     )
Plaintiff,                                    )
v.                                            )      Case No. 21-cr-026 (CRC)
CHRISTOPHER MICHAEL ALBERTS                   )
Defendant.                                    )
__________________________/                   )


 UNOPPOSED MOTION FOR TWO-WEEK CONTINUANCE OF TRIAL DUE
   TO SCHEDULING PROBLEMS AND ATTORNEY UNAVAILABILITY

      COMES NOW, the Defendant, Christopher Michael Alberts (“Alberts”), with

this expedited motion for a two-week continuance of trial due to attorney

unavailability. Alberts and counsel are preparing for trial in this case but are facing

rapidly emerging issues which require this request for a brief continuance of trial in

Alberts’ case. The government does not oppose this motion.

      Counsel Pierce intends to try this case along with his partner Roger Roots,

Esq., who has already done much of the research and preparation in this case.

Undersigned counsel Pierce has reached out to Assistant US Attorney Samuel S.

Dalke, who writes that the government will not oppose a 1-or 2-week continuance

of the trial date but would oppose a longer continuance. Mr. Roots’ pro hac vice
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admission petition is pending.1 Unfortunately for our scheduling purposes, however,

Mr. Roots is presently consumed as co-counsel in the currently ongoing “Proud Boy”

trial presently underway before Judge Kelly. Mr. Roots is co-defending Defendant

Dominic Pezzola (along with attorney Steven Metcalf).

         At the time Mr. Roots became involved in the Proud Boy trial (in November

2022), he was only planning to be involved in jury selection, which was expected to

take only three days. Instead, jury selection went for three weeks. Roots expected

opening statements to be made on January 3. But opening statements were finally

made on Thursday, January 12. Consequently, it seems likely that the Proud Boy trial

will not end until mid-February. It originally seemed destined to end around late

January or the first week of February.

         Attorney Roots is necessary for an effective defense for Mr. Alberts. Roots

has done much of the background work for Mr. Alberts’ defense. Mr. Roots has done

most of the legal research, analysis and drafting memoranda regarding the case.

         Additionally, counsel Pierce’s research staff and paralegal is tied up with the

Proud Boys trial. Discovery rules in place mandate that only one person per law firm

has a license to access the Relativity discovery database. Our main researcher Emily




1
 Pursuant to the Court’s directions, Mr. Roots is updating his certificate of good standing from the Rhode Island bar,
which has been ordered and is being mailed.
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is that person in our firm and Emily is working the exhibit preparation and discovery

research for the Proud Boy trial along with Mr. Roots.

      Additionally, undersigned counsel John Pierce has been drawn into an

important civil litigation matter on the west coast on Friday, February 3 involving a

Fortune 500 corporation. This would entail multiple days of preparation and cross-

country travel that will consume 5 to 7 days prior to February 6. This situation arose

within the past 7 to 10 days. (Of course, Mr. Pierce will prioritize Mr. Alberts’ trial,

if necessary, but in light of the fact the Government does not oppose this motion, it

would be ideal if Mr. Pierce could attend to this matter).

      Mr. Pierce also underwent a significant oral surgery in December (involving

general anesthetic), which required multiple weeks of recovery due to pain and

medication. Although he was able to work during most of this recovery time, his

capacity was diminished, which limited his ability to prepare for this trial.
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                                   CONCLUSION
      For these reasons we are requesting a continuance of trial in this matter for

two weeks, so that jury selection will begin on or about February 20th. Counsel is

available to discuss this matter and address all these issues at the Court’s notice.

Alberts attaches the following declaration by Mr. Roots.

Dated: January 17, 2023
                                RESPECTFULLY SUBMITTED,
                                                                   /s/ John M. Pierce
                                                                       John M. Pierce
                                                                21550 Oxnard Street
                                                                3rd Floor, PMB #172
                                                          Woodland Hills, CA 91367
                                                                 Tel: (213) 400-0725
                                                  Email: jpierce@johnpiercelaw.com

                                                               Attorney for Defendant
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                          CERTIFICATE OF SERVICE
I hereby certify that on January 17, 2023, a true and accurate copy of the forgoing
  was electronically filed and served through the ECF system of the U.S. District
                         Court for the District of Columbia.
                                /s/ Roger I. Roots
